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IN THE UNITED STATES DISTRICT COURT 7
FOR THE WESTERN DISTRICT OF TENNESSEE …7 ’?{] M 3 p

WESTERN DIVISION

 

 

JAMES M. CRUNK,
Plaintiff,
v.

NO. 01-2573 Ml/V

TAG CHONG (“TEDDY”) KIM,r and
ELVIS ROBERT GATES,

vvv`_rvv\_rv\¢¢\-¢

Defendants.

 

ORDER RE-SETTING TELEPHONE CONFERENCE

 

The telephone conference in this case previously scheduled
for Fridav, Mav 27, 2005, at 2:30 p.m. to set a new trial
schedule in this case is hereby re-set to Fridav, June 24, 2005,
at 2:30 p.m. Plaintiff shall initiate the call with all parties

on the line.

ENTERED this Cj()day of May, 2005.

M?‘@QQ
J . MCCALLA
ITED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 106 in
case 2:01-CV-02573 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

